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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                             CASE NO.: 1:07-CR-021-SPM

LUIS MATA-MORENO,

             Defendant.

________________________________/

        ORDER GRANTING MOTION TO CONTINUE SENTENCING

      THIS CAUSE comes before the Court on the Defendant’s "Amended

Motion to Continue Sentencing” (doc. 194). As grounds, Defendant states the

need for more time to finalize sentencing issues. Additionally, because of

numerous trials scheduled on October 6, 2008, defense counsel will be

unavailable to attend the sentencing hearing. The Government does not

oppose the granting of this motion.

      It is hereby ORDERED AND ADJUDGED as follows:

      1.     Defendant’s amended motion to continue (doc. 194) is granted.

      2.     Defendant’s sentencing is reset for Monday, November 3, 2008

             at 1:30 p.m.

      3.     Defendant’s first motion to continue sentencing (doc. 192) is
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           denied as moot.

     DONE AND ORDERED this fifth day of September, 2008.




                                s/ Stephan P. Mickle
                             Stephan P. Mickle
                             United States District Judge
